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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  8:05CR387
                                             )
             v.                              )
                                             )
DARTAVIAN DE SHAWN WATSON,                   )           REASSIGNMENT ORDER
BILLY DEE SPENCER, JUAN                      )
ANTONIO GARCIA,                              )
                                             )
                    Defendants.              )
                                             )


      Pursuant to the recusal of District Judge Laurie Smith Camp (Filing No. 14) in the
above matter,
      IT IS ORDERED that this case is reassigned to District Judge Joseph F. Bataillon
for disposition and remains assigned to Magistrate Judge F.A. Gossett for judicial
supervision and processing of all pretrial matters
      DATED this 26th day of October, 2005.


                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            United States District Judge
